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 1                                 UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3                                                  ***
 4    REGINALD C. HOWARD,                                      Case No. 2:19-cv-00749-APG-EJY
 5                   Plaintiff,
                                                                            ORDER
 6           v.
 7    STEVEN GRIERSON, et al.,
 8                   Defendants.
 9

10          On November 10, 2021, the Court issued an Order requiring Plaintiff to show cause why
11   Defendants J. Arqueta, J. Rasner, Caseworker Hernandez, and Mario Vasquez should not be
12   dismissed from this lawsuit. ECF No. 40. Plaintiff responded to the Order on December 1 and 2,
13   2021. ECF Nos. 43, 44, 45. Plaintiff’s responses argue that the Office of the Attorney General failed
14   to provide last known addresses for these unserved Defendants. Id. However, Plaintiff is incorrect.
15   The Office of Attorney General attempted to identify the unserved Defendants but was unable to do
16   so. It is for this reason that the Attorney General has been unable to provide last known addresses.
17   Presently, in ECF No. 45, Plaintiff provides additional information regarding the names of the four
18   Defendants as follows: J. Arqueta is identified as Jason Arqueta; J. Rasner is identified as J.
19   Kronberg Rasner, Caseworker Hernandez is identified as Guillermo Hernandez; and Mario Vasquez
20   is identified as Mario Vasquez, Jr.
21          Accordingly, IT IS HEREBY ORDERED that, based on the additional information provided
22   by Plaintiff, the Attorney General’s Office must research whether it can now identify any of the four
23   named, but unserved Defendants and, within twenty-one (21) days of the date of this Order, file a
24   Notice with the Court stating whether it will accept service on behalf of any of these Defendants. If
25   the Attorney General’s Office cannot accept service on any of the four Defendants, the Attorney
26   General’s Office shall state whether it is able to locate a last known address for such Defendant.
27          IT IS FURTHER ORDERED that if the Attorney General cannot accept service on behalf of
28   an unserved Defendant identified above, but the Attorney General’s Office is able to identify a last
                                                      1
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 1   known address for such Defendant, the Attorney General must file within twenty-one (21) days of

 2   the date of this Order, under seal without servicing Plaintiff, the last known address of such

 3   Defendant.

 4          IT IS FURTHER ORDERED that if no additional information is located to enable service

 5   for an unserved Defendant, the Court will recommend dismissal of such Defendant without

 6   prejudice.

 7          Dated this 6th day of December, 2021.

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 9                                             ELAYNA J. YOUCHAH
                                               UNITED STATES MAGISTRATE JUDGE
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